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12
                                    UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
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                                          SAN JOSE DIVISION
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     APPLE INC., a California corporation,                   Case No. 11-cv-01846-LHK
18
                       Plaintiff,                            APPLE INC.’S NOTICE OF MOTION
19                                                           AND MOTION IN LIMINE #2 TO
            v.                                               EXCLUDE EVIDENCE OF
20                                                           UNASSERTED PATENTS
     SAMSUNG ELECTRONICS CO., LTD., a Korean
21   corporation; SAMSUNG ELECTRONICS                        Date:      May 3, 2018
     AMERICA, INC., a New York corporation; and              Time:      1:30 p.m.
22   SAMSUNG TELECOMMUNICATIONS                              Place:     Courtroom 8, 4th Floor
     AMERICA, LLC, a Delaware limited liability              Judge:     Hon. Lucy H. Koh
23
     company,
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                        Defendants.
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     APPLE’S MOTION IN LIMINE #2 TO EXCLUDE EVIDENCE OF UNASSERTED PATENTS
     CASE NO. 11-CV-01846-LHK
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 1                               NOTICE OF MOTION AND MOTION

 2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on May 3, 2018, at 1:30 p.m., in Courtroom 8, United

 4   States District Court for the Northern District of California, Robert F. Peckham Federal Building,

 5   280 South 1st Street, San Jose, CA 95113, Apple Inc. shall and hereby does move for an order,

 6   pursuant to the Court’s Groundhog Day rules and Federal Rules of Evidence 401, 402, and 403,

 7   to exclude evidence, testimony, and argument regarding any patents other than prior art and the

 8   five infringed patents for which Apple seeks damages at the May 2018 trial.

 9          This motion is based on this notice of motion and supporting brief; the Declaration of

10   Mark Selwyn in Support of Apple’s Motion in Limine; and such other written or oral argument as

11   may be presented at or before the time this motion is taken under submission by the Court.

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13   Dated: April 9, 2018                         WILMER CUTLER PICKERING
                                                   HALE AND DORR LLP
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                                                  By: /s/ Mark D. Selwyn
16                                                       MARK D. SELWYN
17                                                       Attorneys for Plaintiff
18                                                       APPLE INC.

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     APPLE’S MOTION IN LIMINE #2 TO EXCLUDE EVIDENCE OF UNASSERTED PATENTS
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 1          The Court has previously excluded evidence and argument regarding unasserted, non-

 2   prior art patents. E.g., Dkt. 1456 at 4 (sustaining objection to Samsung opening slides discussing

 3   “not asserted” patents as “likely to cause undue confusion for the jury and to waste time”); Dkt.

 4   1650 at 2 (excluding testimony regarding “patents not asserted in this litigation” under FRE 402

 5   and 403 because “not relevant to any issue in this case”). Samsung has again indicated, however,

 6   that it intends to offer evidence and testimony regarding several unasserted patents in ways that

 7   are irrelevant, confusing, and prejudicial to Apple. Pursuant to the Court’s Groundhog Day rules

 8   and FRE 402 and 403, the Court should exclude from trial any evidence or testimony regarding

 9   patents other than prior art and the five infringed patents for which the jury will award damages.

10          A.      Unasserted Apple Patents Are Irrelevant To Identifying The AOMs Or
                    Calculating Damages, And Would Unfairly Prejudice Apple.
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            During the recent discovery period, Samsung and its design expert have catalogued over
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     225 unasserted Apple design and utility patents. Selwyn Decl., Ex. A, Lucente Rpt. Exs. 5-6; id.,
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     Ex. B at 13, 31, 51. These patents have no relevance to identifying the AOMs to which Samsung
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     applied Apple’s D’677, D’087, and D’305 designs or to calculating the profits Samsung made
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     from those AOMs. Moreover, examples of how Samsung has sought to use these other Apple
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     patents show just how unfair and prejudicial it would be to allow them before the jury.
17
            Not Relevant To Identifying AOMs. Samsung contends that Apple’s unasserted design
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     patents relating to the iPhone are relevant to Factor 1—the scope of the claimed design—because
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     they supposedly “confirm” or “corroborate” the limited scope of the D’677, D’087, and D’305
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     patents. E.g., Selwyn Decl., Ex. B at 3, 21, 39; Dkt. 3592-25, Lucente Rpt. ¶ 153 (existence of
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     other Apple design patents “confirm[s] the limited scope” of the D’305 patent); see id. ¶¶ 94-95.
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     But the Court has already construed the claims of the asserted design patents, and Apple’s other
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     patents have no bearing on the scope of those claims. In fact, the Court has already “exclude[d]
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     non-prior art Apple or Samsung design patents” (Dkt. 1267 at 3) because they are not relevant “to
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     determin[ing] the scope of the patent[s] at issue.” Dkt. 1272 at 129-130; see Dkt. 1519 at 2. Mr.
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     Lucente’s allegations that “Apple has pursued partial patent claims” in the D’677, D’087, and
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     APPLE’S MOTION IN LIMINE #2 TO EXCLUDE EVIDENCE OF UNASSERTED PATENTS                                1
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 1   D’305 patents, and that “patentees use this practice of ‘partial claiming’ … to increase the

 2   chances that at least one of their patents will be found infringed” (Dkt. 3592-25, Lucente Rpt.

 3   ¶ 95; see id. ¶¶ 182-183) are wholly irrelevant to identifying the AOMs and prejudicial to Apple.

 4          Samsung also cites Apple’s unasserted design and utility patents for Factors 2-4 because

 5   they allegedly support Samsung’s contention that “smartphones embody hundreds of thousands of

 6   discrete innovations.” Dkt. 3592-25, Lucente Rpt. ¶ 238; see id. ¶¶ 291-292; Selwyn Decl., Ex. B

 7   at 4, 5, 9, 22-23, 27, 40-42, 47. But to the extent other designs or technologies are relevant to the

 8   analysis, Samsung can make that point by discussing the Samsung phones without reference to

 9   Apple’s unasserted patents. Further, Samsung has provided no analysis showing that the

10   Samsung phones practice the unasserted Apple patents; without that connection, there is no basis

11   to discuss the other Apple patents for Factors 2-4—which focus on the relationship between the

12   D’677, D’087, and D’305 designs and Samsung’s infringing phones. Any alleged relevance of

13   Apple’s unasserted patents would be heavily outweighed by the risk of confusion and prejudice.

14          Not Relevant To Calculating Damages. Samsung also mentions other Apple design and

15   utility patents to suggest that the damages for Samsung’s infringement of the D’677, D’087, and

16   D’305 patents should be reduced to account for other inventions. Dkt. 3594-06, Wagner Rpt.

17   ¶¶ 548-561. But Mr. Wagner does not use Apple’s unasserted patents to calculate Samsung’s

18   profits on the alleged AOMs; he concedes they are “[u]nrelated to the AOMs.” Id. at p. 253. Mr.

19   Wagner instead suggests that Apple’s unasserted patents corroborate his low § 289 damages

20   calculations because “[t]he fact that Apple patented many different design aspects of the iPhone

21   itself and different screens demonstrates that the AOMs at issue are only a portion of the value of

22   the design of the entire phone.” Id. ¶ 559. This type of apportionment is contrary to law. See

23   Dkt. 1157 at 9. Even if it were not, any discussion of Apple’s unasserted patents—which are not

24   even tied to Samsung’s infringing phones—would still be irrelevant, confusing, and prejudicial. 1

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26   1
              Relatedly, Mr. Wagner also improperly discusses the fact that Apple has asserted various
27   utility patents against others, including HTC. Dkt. 3594-06, ¶¶ 560-561 (“Apple has asserted
     against third parties utility patents unrelated to the AOMs at issue. The existence of these patents
28   (and the fact that Apple was willing to assert them in litigation) provides further corroboration of
     APPLE’S MOTION IN LIMINE #2 TO EXCLUDE EVIDENCE OF UNASSERTED PATENTS                               2
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 1          Unfairly Prejudicial And Improperly Inviting Jury To Question Policy Implications

 2   Of § 289. The manner in which Samsung has sought to use unasserted Apple patents—primarily

 3   to suggest it would be “unfair” to award Samsung’s total profits on the infringing phones for the

 4   three asserted patents—demonstrates just how prejudicial it would be to Apple if this irrelevant

 5   evidence were put before the jury. For example, Samsung’s counsel asked one Apple design

 6   expert to imagine “two patents by two different owners” both infringed by the same Samsung

 7   phones, and asked: “[I]s it fair that Samsung would have to give all of its profits for those phones

 8   to both owners?” Selwyn Decl., Ex. C at 123-124. Similarly, at the Daubert hearing, Samsung’s

 9   counsel tried to disparage Apple’s other design expert by saying, “[she] would tell you that [a

10   design patent on a single icon] is applied to the whole phone.” Dkt. 3643 at 34. These examples

11   call for legal conclusions regarding the application of § 289 to facts other than those the jury will

12   be asked to consider—or worse, invite the jury to reconsider the policy implications of § 289,

13   rather than simply follow the law as instructed by the Court. Samsung should be barred from

14   using Apple’s unasserted patents to make these or similar “fairness” arguments at trial.

15          B.      Samsung and Third-Party Patents Are Also Irrelevant And Prejudicial.

16          Samsung has also identified several Samsung and third-party patents. Selwyn Decl., Ex.
17   B at 13, 14, 31, 32, 51, 52. For example, Mr. Lucente discusses statistics regarding the number of
18   patents a smartphone could potentially practice, “thousands of patents related solely to wireless
19   communication standards,” and the number of U.S. patents granted to Samsung from 2006 to
20   2016. Dkt. 3592-25, ¶¶ 46-48; see, e.g., Selwyn Decl., Exs. D-K (articles Mr. Lucente cites). 2
21   Similarly, Mr. Wagner provides a lengthy discussion of standard-essential patents, which he does
22   not use to calculate damages but calls “corroborating” evidence (of what, it is unclear). Dkt.
23   3594-06, at p. 228, ¶¶ 548-557. The Samsung and third-party patents have no relevance to the
24   issues the jury will be asked to decide, and would be confusing, waste time, and prejudice Apple.
25
     value of other functionalities in smartphones unrelated to the AOMs at issue.”). This opinion too
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     should be excluded as irrelevant, prejudicial, and likely to cause confusion.
     2
27          Mr. Lucente briefly asserts that Samsung’s own design patents are “confirmatory
     evidence” that Samsung did not seek to “copy Apple’s designs.” Dkt. 3592-25, ¶ 361. But
28   whether Samsung sought or received patents says nothing about whether it copied the iPhone.
     APPLE’S MOTION IN LIMINE #2 TO EXCLUDE EVIDENCE OF UNASSERTED PATENTS                                   3
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 1   Dated: April 9, 2018                         WILMER CUTLER PICKERING
                                                   HALE AND DORR LLP
 2

 3
                                                  By: /s/ Mark D. Selwyn
 4                                                       MARK D. SELWYN
 5                                                       Attorneys for Plaintiff
 6                                                       APPLE INC.

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     APPLE’S MOTION IN LIMINE #2 TO EXCLUDE EVIDENCE OF UNASSERTED PATENTS         4
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that a true and correct copy of the above and foregoing document has been

 3   served on April 9, 2018, to all counsel of record who are deemed to have consented to electronic

 4   service via the Court’s CM/ECF system per Civil Local Rule 5.4.

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 6                                                       /s/ Mark D. Selwyn
                                                         Mark D. Selwyn
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     APPLE’S MOTION IN LIMINE #2 TO EXCLUDE EVIDENCE OF UNASSERTED PATENTS                              5
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